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 United States Bankruptcy Court for the:
                           District of Delaware
                                      (State)
 Case number ~i~known>:                                     Chapter 11                                                                  ❑ Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04116

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions far Bankruptcy Forms for Non-Individuals, is available.



~. Debtor's name                           FGI Holding Company LLC


                                           FGI Holding Company, Inc.
z. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



s. Debtor's federal Employer               2 7- 1             6 7 9 8 9 9
   identification Number(EIN)


                                           Principal place of business                                  Mailing address, if different from principal place
a. Debtor's address
                                                                                                        of business

                                           870 Remington Drive                                           870 Remington Drive
                                           Number         Street                                        Number      Street

                                                                                                         P.O. Box 700
                                                                                                        P.O. Box

                                            Madison                         NC       27025                Madsion                   NC         27025
                                           City                             State     ZIP Code          City                        State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Rockingham County
                                           County
                                                                                                        Number      Street




                                                                                                        City                        State          ZIP Code




s. Debtor's website (URL)                   None

                                                  Corporation (including Limited Liability Company(LLC) and Limited liability Partnership (LLP))
s. Type of debtor
                                           ❑ Partnership (excluding LLP)
                                           ❑ Other. Specify:



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Debtor         FGI Holding Company, LLC                                                            Case number (ira~own)
              Name


                                       A. Check one:
~. Describe debtor's business
                                       ❑ Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                       ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C.§ 101(44))
                                       ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                       B. Check all that apply:

                                       ❑ Tax-exempt entity (as described in 26 U.S.C.§ 501)
                                       ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                       ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                          ham://www.naics.com/search/ .

                                           3      3    2        9

s. Under which chapter of the          Check one:
   Bankruptcy Code is the
                                       ❑Chapter 7
   debtor filing?
                                       ❑ Chapter 9
                                          Chapter 11. Check all that apply:
                                                           ❑ Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                           ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). if the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                 A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (O~cial Form 201 A) with this form.

                                                              ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie
                                                                12b-2.
                                       ❑ Chapter 12

 s. Were prior bankruptcy cases        ~ No
    filed by or against the debtor
                                       ❑Yes. District                                       When                       Case number                      _
    within the last 8 years?                                                                       MM / DD / YYYY
    If more than 2 cases, attach a                                                          When                       Case number
                                                   District
    separate list.                                                                                 MM i DD i YYYY

 ~o. Are any bankruptcy cases           ❑ No
     pending or being filed by a
                                       ~ Y2S. Debtor S00 attaCfl@CI IISt                                            _Relationship                       _
     business partner or an
     affiliate of the debtor?                      District                                                            When
                                                                                                                                     MM / DD / YYYY
     List all cases. If more than 1,
     attach a separate list.                       Case number, if known


                                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
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Debtor       FGI Holding Company, LLC                                                   Case number
             Name




~~. Why is the case filed in this   Check all that apply.•
    district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                       district.

                                    ~ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


~z. Does the debtor own or have     f,~ No
    possession of any real          ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
    attention?
                                             ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?

                                             ❑ It needs to be physically secured or protected from the weather.

                                             ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                               attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                               assets or other options).

                                             ❑ Other



                                             Where is the property?
                                                                        Number          Street



                                                                                                                        State       ZIP Code


                                             Is the property insured?
                                              ❑ No
                                              ❑ YeS. Insurance agency ,

                                                       Contact name

                                                       Phone



            Statistical and administrative information



 ~3. Debtor's estimation of          Check one:
     available funds                   Funds will be available for distribution to unsecured creditors.
                                     ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       1-49                           ❑ 1,000-5,000                             ❑ 25,001-50,000
 ~a. Estimated number of             ❑ 50-99                          ❑ 5,001-10,000                            ❑ 50,001-100,000
     creditors                                                                                                  ❑ More than 100,000
                                     ❑ 100-199                          10,001-25,000
                                     ❑ 200-999

                                     ❑   $0-$50,000                   ❑   $1,000,001-$10 million                   $500,000,001-$1 billion
 ~s. Estimated assets                ❑   $50,001-$100,000             ❑   $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                     ❑   $100,001-$500,000            ❑   $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                     ❑   $500,001-$1 million          ❑   $100,000,001-$500 million              ❑ More than $50 billion




                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                                                                                                      CasenUmberprs~ow~~~                                           ,_.,
                                              L ~~                           ___
Debtor       ~~i Holding Comp n
             tJama


                                                                              ❑X1,000,001-510 million                             ~ $500,000;001-$1 billion
                                            SO-S50,000
                                                                              ❑ ~10,0OO;OU1-$50 million                           ~} ~1,000,OQQ001-~10 billion
1s. Estimated liabilities               [,~ a~g0,001-51Q0,000
                                                                              0 $5Q000A01-Si00 million                            0 $10,000,000,001-$50 billion
                                        0 X100,009-X500,000
                                                                              0 5100,000.001-3500 mi[iion                         0 More than $50 billion
                                        0 35C0,0o1-51 million

                                                                                         _            __
                                              _

           Request for Reitef~ Dealaratian, and Signatures

                                                                                                           case can rosult in lines up to
                                                tviaking a false statement in eonneciion with a bankruptcy
WARNING — Bankruptcy fraud is a serious erirne.                                       1341, 1519, and 3571.
                                            to 20 years, or  Froth. 18 U.S.C. §§ 152,
          X500,000 or imprisonment for up

                                                                                                           chapter of title 11, United States Code, specified in this
~7, Declaration and signature of         ,3       The debtor requests relief !n accordance with the
    authorized representative o4                  petition.
    debtor
                                                                                                         of the debtor:
                                         i~       I have been authorized to file this petition on behalf
                                                                                                                                                             arFd
                                                                                                       have a rAasonable belief that the information is true
                                         :~       i have examined the information in this petition and
                                                  correct.


                                                                                                is          true and correct.
                                          i declare under penalty of perjury that the foregoing

                                                  Executed on ~~ ~`~             jr
                                                              M1vt 1 OD / YYYA ~
                                                                              V
                                          ~ ~~~+~ ~                                                                  Stephen P. Jackson Jr,
                                                                                             debtor                  Printed name
                                                  Signature of authorized ~prese alive

                                                  Title   Chief Financial Offi r



                                                                                   ~~                                                               p

 ~a. Signature ofattorneyDate                                                                                                     ~ ~~O
                                                 W                                                                                MM / p0 / YYYY
                     Sianatu attorney for debfor


                                                   Laura flavis Jones. Esa.
                                                  Printed name
                                                                                                                ._                            _                   __~
                                                   Pachulski Stan~Ziehl ~ Jones LLP
                                                   Firm name
                                                                                                                                                            .
                                                    919 North Market Street 17th Floor
                                                   Number        Street
                                                   Wilmin ton                                                                 DE_„~ 1$01
                                                                                                                         Stale           ZIP Cado
                                                   City

                                                   X302}652-4100                                                          Janes pszli aw.com
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                                                   Contact phone


                                                                                                                                  aE
                                                   24s~                                                                   State
                                                   Bar number




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                                            Schedule 1


                Pending Bankruptcy Cases Filed by the Debtors in this Court

       On the date hereof, each ofthe affiliated entities listed below (collectively, the
"Debtors")filed a voluntary petition for relief under chapter 11 of title 11 ofthe United States
Code, 11 U.S.C. §§ 101 et seq., in the United States Bankruptcy Court for the District of
Delaware. Contemporaneously herewith, the Debtors are filing a motion requesting the joint
administration ofthese chapter 11 cases for procedural purposes only under the case number
assigned to Remington Outdoor Company,Inc.

        1.     Remington Outdoor Company,Inc.

        2.     FGI Holding Company,LLC

        3.     FGI Operating Company, LLC

        4.      Remington Arms Company,LLC

        5.     Barnes Bullets, LLC

        6.      TMRI,Inc.

        7.      32E Productions, LLC

        8.      Advanced Armament Corp., LLC

        9.      Great Outdoors Holdco, LLC

        10.     RA Brands, L.L.C.

        11.     Outdoor Services, LLC

        12.     FGI Finance, Inc.

        13.     Huntsville Holdings LLC
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                                    RESOLUTIONS
                            OF THE MANAGEMENT BOARD OF

                               FGI HOLDING COMPANY,LLC

                                         March 20,2018

        The members of the management board (collectively, the "Directors") of FGI HOLDING
COMPANY,LLC, a limited liability company organized and existing under the laws of the State
of Delaware (the "Company"), hereby take the following actions and consent to the adoption of
the following preambles and resolutions (these "Resolutions").

       WHEREAS,the Directors of the Company have considered the financial and operational
condition ofthe Company;

       WHEREAS,such Directors have reviewed the historical performance and results of the
Company, the market in which the Company operates, its current and future liquidity needs, its
business prospects, and its current and long-term liabilities;

        WHEREAS,such Directors have reviewed the. materials presented by its financial, legal,
and other advisors and have engaged in numerous and extensive discussions (including, without
limitation, with its management and such advisors) regarding, and have had the opportunity to
fully consider, the Company's financial condition, including its liabilities and liquidity position,
the strategic alternatives available to it, and the impact of the foregoing on the Company's
business and operations;

        WHEREAS,the board of directors of Remington Outdoor Company, Inc.("ROC"), the
beneficial owner of the Company, previously approved the form, terms and provisions of, and
the execution, delivery, and performance of, and, on February 11, 2018, ROC entered into, that
certain restructuring support agreement (as amended, restated supplemented or otherwise
modified from time to time in accordance with the terms thereof, the "RSA"), by and among (i)
ROC,(ii) FGI Operating Company, LLC ("FGI Opco"), (iii) the consenting term lenders under
that certain Term Loan Agreement, dated as of April 19, 2012, by and among FGI Opco, as
Borrower, the Company, as Holdings, the guarantors and lenders from time to time party thereto,
and Bank of America, N.A., as Agent, and (iv) the consenting holders of those certain 7.875%
Senior Secured Notes due 2020 pursuant to that Indenture, dated as of April 19, 2012, between
FGI Opco and FGI Finance Inc., as Issuers, the guarantors named therein, and Wilmington Trust,
National Association, as Trustee and Collateral Agent;

        WHEREAS, such Directors have determined that, in furtherance of the RSA, it is
desirable and in the best interests of the Company and its respective creditors, equity holders,
employees and other parties-in-interest that the Company commence solicitation ("Solicitation")
of votes to obtain acceptances of the Joint Prepackaged Chapter 1 l Plan of Remington Outdoor
Company, Inc. and its Affiliated Debtors and Debtors in Possession, dated March 22, 2018 (the
"Prepackaged Plan"); and
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        WHEREAS, such Directors have determined that, in furtherance of the Prepackaged
Plan, it is desirable and in the best interests of the Company and its respective creditors, equity
holders, employees, and other parties-in-interest that the Company file or cause to be filed a
voluntary petition (a"Voluntary Petition")for relief under the provisions of chapter 11 of title 11
of the United States Code (the "Bankruptc.  ~").

                                            Solicitation

        BE IT RESOLVED that the Directors have determined that it is advisable and in the
best interests ofthe Company that the Company commence Solicitation;

       BE IT FURTHER RESOLVED that the senior officers of the Company (together, the
"Authorized Officers"), be, and each of them hereby is, authorized, empowered and directed to
take any and all action and perform any and all further deeds that they deem necessary or proper
to commence Solicitation;

                                          Chapter 11 Case

        BE IT FURTHER RESOLVED that Directors have determined that it is advisable and
in the best interests of the Company that the Company file, or cause to be filed, a Voluntary
Petition commencing the Chapter 11 Case (as defined below);

       BE IT FURTHER RESOLVED that the Authorized Officers, be, and each of them
hereby is, authorized, empowered, and directed to execute and file, or cause to be filed, with the
bankruptcy court, for the Company, all petitions, schedules, lists, motions, applications,
pleadings, and.any other necessary papers or documents, including any amendments thereto, and
to take any and all action and perform any and all further deeds that they deem necessary or
proper to obtain chapter 11 bankruptcy relief or in connection with the chapter 11 case of the
Company (the "Chapter 11 Case"), with a view to the successful prosecution of such Chapter 11
Case;

                                 Debtor in Possession Financing

        BE IT FURTHER RESOLVED that, the Authorized Officers, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, enter into senior, secured,
super-priority debtor in possession credit facilities, including the credit facilities contemplated by
(a)the "Term Sheet" attached as Exhibit A to that certain Commitment Letter, dated as of March
8, 2018, by and among FGI Opco and the lenders party thereto, and (b)that certain "$193 million
DIP and Exit ABL Revolver Summary of Indicative Principal Terms and Conditions", dated on
or about the date hereof, by and among FGI Opco and the lenders party thereto, in each case, in
substantially the form as presented to the Directors (the "DIP Credit Facilities"), and any related
documents or instruments, each on terms and conditions agreed to by the Company, the lender
and the agent and such other terms as are customary for similar debtor-in-possession facilities
and to cause the Company to grant a senior security interest in substantially all of its assets in
connection therewith, and to undertake any and all related transactions contemplated thereby;


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        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf ofthe Company,to, if
the Authorized Officers determine it to be necessary or appropriate, cause to be prepared, to
negotiate, execute, and deliver, and the Company is hereby authorized to perform its obligations
and take the actions contemplated under, the DIP Credit Facilities and such other documents,
agreements, guaranties, instruments, financing statements, notices, undertakings, certificates, and
other writings as may be required by, contemplated by, or in furtherance of the DIP Credit
Facilities, each containing such provisions, terms, conditions, covenants, warranties, and
representations as may be deemed necessary or appropriate by the Authorized Officers, and any
amendments, restatements, amendments and restatements, supplements, or other modifications
thereto, in each case with such changes therein and additions thereto (substantial or otherwise) as
shall be deemed necessary, appropriate, or advisable by any Authorized Officer executing the
same in the name and on behalf of the Company, such approval to be evidenced conclusively by
such execution;

        BE IT FURTHER RESOLVED that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees and to pledge and grant liens on and claims against the Company's assets as may
be contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the
affairs of the Company in the Chapter 11 Case and any of the Company's affiliates who may
also, concurrently with the Company's petition, file for relief under.the Bankruptcy Code;

        BE IT FURTHER RESOLVED that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Credit Facilities to the Company and its affiliates;

                                     Retention of Advisors

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Milbank, Tweed,
Hadley & McCloy LLP as general bankruptcy counsel to represent and advise the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance its
rights and obligations, including filing any pleadings in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, the Authorized Officers are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Milbank, Tweed, Hadley & McCloy LLP;

       BE IT FURTHE~Z RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Pachulski, Stang, Ziehl &
Jones LLP as local counsel to represent and advise the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute

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 appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
 filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
 the bankruptcy court for authority to retain the services ofPachulski, Stang, Ziehl &Jones LLP;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Lazard Freres & Co. LLC
as investment banker to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Lazard Freres & Co. LLC;

        SE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Alvarez & Marsal North
America, LLC as financial advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations
in connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Alvarez & Marsal North America,
LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Prime Clerk LLC as
notice, claims, and balloting agent to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed and
filed an appropriate application with the bankruptcy court for authority to retain the services of
Prime Clerk LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ any other professionals, including
attorneys, accountants, and tax advisors, necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers are
hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to
be executed and filed appropriate applications with the bankruptcy court for authority to retain
the services of any other professionals, as necessary;

                            Other Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
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prosecute the Chapter 11 Case in a manner that in their business judgment is likely to maximize
the recovery for stakeholders in the Company and minimize the obligations incurred by the
Company;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
cause the Company to enter into, execute, deliver, certify, file, and/or record and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates or other documents, and to take such other
action, as in the judgment of such officer shall be or become necessary, proper, and desirable to
prosecute to a successful completion the Chapter 11 Case, including, but not limited to,
implementing the foregoing Resolutions and the transactions contemplated by these Resolutions;

        BE IT FURTHER RESOLVED that Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing Resolutions; and

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of the
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified.




                                              5
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        I, Stepl~el~ P. Jtiuks~ii, J~•., tl~c; t~nc~crsF~nec3 C'hieC Financiat O~'ttcer c~i' ~GI Nc~Idii~~;
Cc~~z~pany, LLB,a lix~~itec~ liabitit}- cozn~~rny cyi•~arlizecl anc~ existialg under the lams cif the State ~>f
1~elativare{tile "C'c~tn.~~v"), hcx•cl~y ~~z•tify as tc~ll.uws:

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         3.       S~~ch .z•esotutio~~s hive nc~t~ been anletld~d, alt~t•ed, al~n~~llecl, iescindc;d, ~r revoked,
and are in E1i11 tore a~~~1 efE~ct as of'the date hc;t~eof: There exists i7c3 ether subseque~it resc~lutio~~
cif the Bo~~rd t-elatin~ to tl-~e m~tteis set forth in the resotutit~ns attticlieci hereto.

          T~f ~'~'TT'~T~SS i~'~'HERE~F,-the luic~ct-si~ned has ex~,ciitccl this Certificate a~ of-thy; date
first ~vritte;z~ al~c~ve,

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                                                                                   ~.
                                                                       y:           ...~~,~.....~_ :.                ~..~ _~._....w___....._..
                                                                     Name: Stephen P. J~cks~n, ~`r,
                                                                     Title: Cl~ief~ Financial C)fficer""._~....__.
    Debtor name: Remington Outdoor Company,lnc., et al.                                                                                                                     ❑Check if this is an amended filing
    United States Bankruptcy Court for the: District of Delaware
    Case number (if known):


Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 lamest Unsecured Claims and Are Not Insiders                                                                                                    12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or
entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
creditor among the holders of the 30 largest unsecured claims.l

NaEne of~red       ~ ~    pm4              l:~me; t~)ep3io~~~ n~fn~4er, a                                                           ~mourai of unsecut~~d Bairn
addr~ , ~         ~ ~~~                      ,, € ,.~'~lr~ss of eredltor ca                                                                 laEm is €u[ly E~nsecu,red, fill .n only ~€nsecu~c f~ c(ai~n a~~r,~~;t,~ It
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                                                                                                                                                                                                                            Case 18-10685




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                                                                                                                                    >e<.~,~red                      f collateral or setoff
                                                                                                                                                                                                                            Doc 1




                                          PENSION BENEFIT GUARANTY
        ENSION BENEFIT GUARANTY           CORPORATION, OFFICE OF THE
        ORPORATION - OFFICE OF THE        GENERAL COUNSEL
        ENERAL COUNSEL                    PHONE: 202-326-4020 x4638                                                                                                                                Undetermined
        200 K STREET, N.W.                FAX: 202-326-4112
        JASHINGTON, DC 20005-4026         EMAIL:
                                          Neureiter.KimberlvC~pb~c.~ov
       HE MARLIN FIREARMS        THE MARLIN FIREARMS
                                                                                                                                                                                                                            Filed 03/25/18




      COMPANY EMPLOYEES'         COMPANY EMPLOYEES'
      PENSION PLAN               PENSION PLAN
2     C/O MASSMUTUAL             C/O MASSMUTUAL                                   Pension LiabilitY                                                                                                Undetermined
                                                                                                                 Contingent,
       TTN: NANCY HOULE
                                 PHONE: 800-309-353,                                                             Unliquidated
      P.O. BOX 219035 MIP M227   x2-2139
      KANSAS CITY, MO 64121-9035
                                 FAX: XXX-XX-XXXX
                                 EMAIL:                                                               `
      ECO-BAT INDIANA LLC        ECO-BAT INDIANA LLC
                                                                                                                                                                                                                            Page 12 of 21




      ATTN: MIKE PARKER,SALES    ATTN:  MIKE PARKER,
3     MANAGER PO BOX 846010      SALES MANAGER                                    Trade                                                                                                           $3,106,870.14
      DALLAS, TX 75284-6010      PHONE: 214-582-OZ95
                                 FAX: 214-831-4013
                                 EMAIL:
                                               bat~roup.com



1 This list does not include the agents for the Debtors' prepetition credit facilities or the indenture trustee for the Debtors' third lien notes as those entities' respective claims are secured by liens on
and/or security interests in the Debtors' assets.
Debtor: Remington Outdoor Company, Inc., et al.                                                            ~                                                                        Case number (if known)
                                                                                                                                                                                            _,___ .....
 N~tm~> ttf c~rr4   ,„         ntt~p3NYe r~~et~~mc ~ ~tS~t~YtGt3~ t;umi~er, ~r3d        t~a1Ur~ Of tht; Clairt3ffnr   Snel~tEa if ~luim        ~; ; 7n~;nt D~ U31SP_Ct3ted d~?rr~~
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                                                       ,.::
                                                                                                                           ,~,;                'secured                       ~f collateral or setoff
      ST MARKS POWDER             ST MARKS POWDER
      PO Box 643003               PHONE: 618-258-2000
4     PITTSBURGH, PA 15264-3003   FAX:                                                 Trade                                                                                                                $1,376,973.80
                                  EMAIL:
                                  stephen.faintich@gd-ots.com
      THE DOE RUN COMPANY         THE DOE RUN COMPANY
      ATTN: DEB MEDLEY            ATTN: DEB MEDLEY
                                                                                                                                                                                                                                      Case 18-10685




5     75 REMITTANCE DRIVE, SUITE PHONE:314-453-7115                                    Trade                                                                                                                $1,331,527.86
      2172 CHICAGO, IL 60675-2172 FAX: 314-453-7189
                                  EMAIL: ceo@doerun.com
      LUVATA KENOSHA INC          LUVATA KENOSHA INC
                                  ATTN: ANDREW STEVENS, MGR
                                                                                                                                                                                                                                      Doc 1




      ATfN: ANDREW STEVENS, MGR
6     MKT DEV                     MKT DEV                                              Trade                                                                                                                   $928,021.49
      PO Box 200498               PHONE: 920-540-5970
      PITTSBURGH, PA 15251-0498 FAX: 920-749-3850
                                  EMAIL: andy.stevens@luvata.com
      GEODIS LOGISTICS LLC        GEODIS LOGISTICS LLC
      ATTN: VIVIAN HARRIS, A/R    ATTN: VIVIAN HARRIS, A/R
7     MANAGER                     MANAGER                                              Trade                                                                                                                   $895,514.30
      15604 COLLECTION CENTER     PHONE: 615-880-4865
                                                                                                                                                                                                                                      Filed 03/25/18




      DRIVE                       FAX: 615-377-3977
      CHICAGO, IL 60693           EMAIL: vharris@ohl.com
                                                 ART GUILD INC                                  '
       RT GUILD INC
                                                 ATTN: BERNADElTE SAN DONE,
       TTN: BERNADETTE SAN DONE,                 AR MANAGER
8      R MANAGER                                                                Marketing Services                                                                                                             $894,069.05
                                                 PHONE: 856-853-7500
      300 WOLF DRIVE WEST
                                                 FAX: 856-686-4184
      DEPTFORD, NJ 08086
                                                 EMAIL:
                                                                                                                                                                                                                                      Page 13 of 21




                                                 bsandone@artguildi~c.com
      MICROBEST INC                              MICROBEST INC
      670 CAPTAIN NEVILLE DR                     PHONE: 203-597-0355
9     WATERBURY, CT 06705                        FAX: 203-597-0655              Trade                                                                                                                          $773,300.75
                                                 EMAIL: maltbere(~microbest.com




Official Form 204                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                           Page 2
 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                          Case number (if known)

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                                                                                        ba3~k lawns,                   ~. , _;..i .•ed, or          ., ~, ,. p~~tially Secured, fill iii total claim a;n~~rtt and a~~~u~tigY~ for
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€                         -                                                                                     -.       ` ~•                   ~s~ctxred                    f coilater~i or setoff
    PMX INDUSTRIES INC CHICAGO PMX INDUSTRIES INC CHICAGO
     TTN:10E TALLERICO         ATTN: JOE TALLERICO
 10 5300 WILLOW CREEK DR SW    PHONE: 319-298-1339                                      Trade                                                                                                                           $720,189.42
    CEDAR RAPIDS, IA 52404     FAX: 319-368-7721
                               EMAIL: joe.tallerico@ipmx.com
    STEPHEN GOULD              STEPHEN GOULD CORPORATION
    CORPORATION                ATTN: GRANTEE REDMOND
                                                                                                                                                                                                                                                  Case 18-10685




 11  TTN: GRANTEE REDMOND      PHONE: 973-428-1500                                      Trade               ~                                                                                                           $645,476.66
    1408-C ROSENEATH ROAD      FAX: 804-217-9046
    RICHMOND, VA 23230         EMAIL:
                               blvollmer@stephengould.com
                                                                                                                                                                                                                                                  Doc 1




                                               PRIORITY PACKAGING WET'N
        PRIORITY PACKAGING WET'N               DRY LUBES INC.
     12 DRY LUBES INC.                                                     Trade                        ~                                                                                                               $563,002.51
                                               PHONE: 843-936-1660
        3260 INDUSTRY DRIVE, UNIT 5
                                               FAX: 843-969-1661
        N. CHARLESTON, SC 29418
                                               EMAIL:
                                               wwhjr@prioritypackaging.com
        MAGPUL INDUSTRIES CORP                 MAGPUL INDUSTRIES CORP
        ATT'N: DOUG SMITH                      ATTN: DOUG SMITH -OPERATION
                                                                                                                                                                                                                                                  Filed 03/25/18




     13 OPERATION MGR                          MGR PHONE: 303-828-3460     Trade                                                                                                                                        $540,813.25
        PO BOX 664017                          FAX: 303-825-3469
        DALLAS, TX 75266-4017                  EMAIL: doug@magpul.com
        GENERAL DYNAMICS        GENERAL DYNAMICS
        ATTN: SUZIE TAILLEFER   ATTN: SUZIE TAILLEFER
     14 55, RUE MASSON          PHONE: 450-377-7835                                     Trade                                                                                                                           $469,669.88
        VALLEYFIEID, OC 165 4VP FAX: 450-377-7800
        Canada                  EMAIL:
                                                                                                                                                                                                                                                  Page 14 of 21




                                suzie.taillefer@can.gd-ots.com
        A M CASTLE & CO /CASTLE A M CASTLE & CO /CASTLE
        METALS                  METALS
     15 11125 METROMONT PARKWAY PHONE: 847-349-3851                                     Trade                                                                                                                            $454,578.78
        CHARLOTTE, NC 28269     FAX: 716-748-7788
                                EMAIL: jkanute@amcastle.com




     Official Form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                       Page 3
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                               Case number (if known)

~1Z3~1~. D~ CF~CC~iff~C af2f~ CfzfSt~I~~f~ 3YYZi€EYtl~ ~1V7Y[1P. fC~~ph OTC Y1UCf?~'~r~C, 1itt~...   ,P~ IUY~ D~ fh~ r3;~1i17, it, :.     1tt             3~r3Yt   ..';Z(~f frlt~ 0~ LF t3S CliCG~ z:~att7i
a C~df~SS, fRC3tF    ~;';,rr _'.~. :                   •.   ~    'C~t~S$ O~CF~L3i'f'Or ~i7~t~~~~~:   CX<"t tii~j~> C[:i"    ..             ': C t :a ~; ~i'IT,           t. - ~~(na 7S ~U~~}' arts@CL3f-td, ~i~j ft~Otijy' GtISe GUted Cl~u~'t ~~F1~'ulfff$, 3f....
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   OZARK DIE CASTING                                  OZARK DIE CASTING
   ATTN: GARY LAND 1005                               ATTN: GARY LAND
16 LOFTING IND DR                                     PHONE: 636-629-4244                            Trade                                                                                                                                 $441,319.08
   SAINT CLAIR, MO 63077                              FAX: 636-629-2153
                                                      EMAIL: ozarkdie@sbcglobal.net
                                                      NATIONWIDE PRECISION                                                 ~_
   NATIONWIDE PRECISION                               PRODUCTS CORP
                                                                                                                                                                                                                                                                      Case 18-10685




   PRODUCTS CORP                                      Attn: Dan Nash -CEO
17 Attn: Dan Nash -CEO                                                                               Trade                                                                                                                                 $437,939.33
                                                      PHONE: 224-419-6055
   PO BOX 842324
                                                      FAX: 585-272-8982
   BOSTON, MA 02284-2384
                                                      EMAIL:
                                                                                                                                                                                                                                                                      Doc 1




                                                      dan.nash@hnprecision.com
                                                       BRUDERER MACHINERY INC
       BRUDERER MACHINERY INC                          ATTN: DONNA KOTERBA
       ATTN: DONNA KOTERBA
1g     1200 HENDRICKS CAUSEWAY                        PHONE: 201-941-2121                            Trade                                                                                                                                 $432,592.50
       RIDGEFIELD, N1 07657                           FAX: 201-886-2010
                                                      EMAIL:
                                                      dkoterba@brudereramericas.com
   GERDAU MAC STEEL                                   GERDAU MAC STEEL
                                                                                                                                                                                                                                                                      Filed 03/25/18




   ATTN: R A. MONTGOMERY                              ATTN: R A. MONTGOMERY LORI
19 LORI STROKO                                        STROKO                                         Trade                                                                                                                                 $421,153.38
   25654 NETWORK PLACE                                PHONE: 330-382-1084
   CHICAGO , IL 60673                                 FAX: 517-782-8736
                                                      EMAIL:
   PRECISIONMATICS CO INC                             PRECISIONMATICS CO INC
   ATTN: CINDY                                        ATTN: CINDY
20 675 US HIGHWAY 20 WEST                             PHONE: 315-822-6324                            Trade                                                                                                                                 $388,620.62
                                                                                                                                                                                                                                                                      Page 15 of 21




   WINFIELD, NY 13491                                 FAX: 315-822-6944
                                                      EMAIL:
                                                      cindyk@precisionmatics.com
   SWANSON MARTIN &BELL                               SWANSON MARTIN &BELL
   ATTN: BRIAN W. BELL                                ANN: BRIAN W. BELL
z1 330 NORTH WABASH AVE                               PHONE: 312-321-9100                             Legal Counsel                                                                                                                         $387,023.30
   STE 3300                                           FAX: 312-321-0990
   CHICAGO, IL 60611                                  EMAIL: bbell@smbtrials.com

Official Form 204                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                Page 4
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                             Case number (if known)
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   DECIMET SALES INC               DECIMET SALES INC
   AlTN: BUTCH ANDERSON            ATTN: BUTCH ANDERSON
22 14200 JAMES ROAD                PHONE: 763-428-4321           Trade                                                                                                                                                                 $371,396.20
   ROGERS , MN 55374               FAX: 763-428-8285
                                   EMAIL: info@dsimn.com
      DANA SOTO, ET AL.            DANA SOTO, ET AL.
      C/O KOSKOFF KOSKOFF &        C/O KOSKOFF KOSKOFF & BIEDER,
                                                                                                                                               Contingent,
                                                                                                                                                                                                                                                              Case 18-10685




23    BIEDER, P.C.                 P.C.                          Litigation                                                                                                                                                          Undetermined
                                                                                                                                               Unliquidated,
      ATTN: 10SHUA D. KOSKOFF      PHONE: 203-583-8634
                                                                                                                                               Disputed
      350 FAIRFIELD AVENUE         FAX: 203-368-3244
      BRIDGEPORT, CT 06604         EMAIL:
      IAN POLLARD, ET AL.
                                                                                                                                                                                                                                                              Doc 1




                                   IAN POLLARD, ET AL.
      C/O BOLEN, ROBINSON & ELLIS, C/O BOLEN, ROBINSON & ELLIS,
                                                                 Litigation                                                                    Contingent,
      LLP                          LLP
24                                                                                                                                             Unliquidated,                                                                         Undetermined
      ATTN:ION D. ROBINSON         PHONE: 217-429-4296
                                                                                                                                               Disputed
      202 SOUTH FRANKLIN           FAX: 217-329-0034
      2ND FLOOR                    EMAIL:
      DECATUR, IL 62523            1ROBINSON@BRELAW.COM
      ROBERT ZICK                  ROBERT ZICK
      C/O MONSEES & MAYER, P.C. C/O MONSEES & MAYER, P.C.
                                                                                                                                                                                                                                                              Filed 03/25/18




                                                                 Litigation                                                                    Contingent,
      ATi~N: TIMOTHY MONSEES       PHONE: 816-470-0013
25                                                                                                                                             Unliquidated,                                                                         Undetermined
      4717 GRAND AVENUE            FAX: 816-361-5577                                                                             ~             Disputed
      SUITE 820                    EMAIL:
      KANSAS CITY, MO 64112
      1O N BATTS                   1O N BATTS
      C/O RAD LAW FIRM, P.C.       C/O RAD LAW FIRM, P.C.
                                                                 Litigation                                                                    Contingent,
      ATTN: ROBERT M. MEADOR       PHONE: 972-661-1111                                                                                                                                                                               Undetermined
26                                                                                                                                             Unliquidated,
      8001 JB1 FREEWAY,SUITE 300 FAX: 972-354-5651
                                                                                                                                               Disputed
                                                                                                                                                                                                                                                              Page 16 of 21




      DALLAS, TX 75251             EMAIL:
                                   EFILERM@RADIAWFIRM.COM




Official Form 204                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                             Page 5
Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                       Case number (if known)

Na~r~e r,f e~~d~tar aria comniete r~3~i~l~c~€; ?t~d~ E~icr Yelephane nurnb~:, aE,~i       i~ N~ture of t(le ct~,ni{fc                                         f urlsec~irc,a r4~ir~i1
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                                                                                                                         ~~ ~,......            ~~curec                          f collateral or setofF
   SAMUELJOHNSON                 SAMUEL JOHNSON
   THE LAW OFFICE OF DANIEL D. THE LAW OFFICE OF DANIEL D.
                                                           Litigation
   GOROWITZ, III, P.C.           GOROWITZ, III, P.C.
                                                                                                                          Contingent,                                                                          Undetermined
27 ATTN: DANIEL D. HOROWITZ      PHONE: 832-460-5181
                                                                                                                          Unliquidated,
   2100 TRAVIS STREET, SUITE 280 FAX: 832-266-1478
                                                                                                                          Disputed
   HOUSTON, TX 77002             EMAIL:
                                 DANIEL@DDHLAWERS.COM
                                                                                                                                                                                                                                       Case 18-10685




     NTHONY GARNETT              ANTHONY GARNETT
    /O O'CONOR, MASON &          C/O O'CONOR, MASON &BONE,
    ONE, P.C.                    P.C.
28                                                                                                                        Contingent,
    TTN: 1ES5 W. MASON, ROBERT PHONE: 713-647-7511                                                                        Uniiquidated,
                                                           Litigation                                                                                                                                          Undetermined
                                                                                                                                                                                                                                       Doc 1




    ~. O'CONOR & J. KEVIN RAIEY FAX: 713-647-7512                                                                         Disputed
      616 S. VOSS ST., SUITE 200
      'OUSTON, TX 77057                        1MASON@OMBTXLAW.COM;
                                               BOCONOR@OMBTXLAW.COM;
                                               KRALEY@OMBTXLAW.COM
   MICHELLE LEFEBRE                            MICHELLE LEFEBRE                                                           Contingent,
   LEONARD A. SIUDARA PC                       LEONARD A. SIUDARA PC                                                      Unliquidated,
   ATTN: LEONARD A. SIUDARA                    PHONE:248-417-7300                          Litigation                     Disputed                                                                             Undetermined
   5865 ANDOVER CT                             FAX: 248-641-5141
                                                                                                                                                                                                                                       Filed 03/25/18




   TROY, MI 48098                              EMAIL: BUDATLAW@MSN.COM
   PRECIOUS SEGUIN                             PRECIOUS SEGUIN
   C/O MONSEES & MAYER, P.C.                   C/O MONSEES & MAYER, P.C.                                                                                                                                       Undetermined
30 AlTN: TIMOTHY MONSEES                                                                   Litigation                     Contingent,
                                               PHONE:816-470-0013
                                                                                                                          Unliquidated,
   4717 GRAND AVENUE                           FAX: 816-361-5577
                                                                                                                          Disputed
   SUITE 820                                   EMAIL:
   KANSAS CITY, MO 64112
                                                                                                                                                                                                                                       Page 17 of 21




Official Form 204                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                            Page 6
                    Case 18-10685           Doc 1      Filed 03/25/18        Page 18 of 21




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

-------------------------------------------------------------   x

In re:                                                              Chapter 11

FGI HOLDING COMPANY,LLC,                                            Case No. 18-             (~



         Debtor.
-------------------------------------------------------------   x

                             CERTIFICATION OF CREDITOR MATRIX

               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
and its affiliated debtors in possession (collectively, the "Debtors")1 hereby certify that the
CNedito~ MatNix submitted herewith contains the names and addresses of the Debtors' creditors.
To the best of the Debtors' knowledge, the Creditor Matrix is complete, correct, and consistent
with the Debtors' books and records.

               The information contained herein is based upon a review of the Debtors' books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Nfatrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims;(2) an acknowledgement of the allowability of
any listed claims; and/or(3)a waiver of any other right or legal position of the Debtors.




' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc.(4491); FGI Holding Company, LLC(9899); FGI
Operating Company, LLC(9774); Remington Arms Company, LLC(0935); Barnes Bullets, LLC(8510); TMRI,
Inc.(3522); RA Brands, L.L.C.(1477); FGI Finance, Inc.(0109); Remington Arms Distribution Company,LLC
(4655); Huntsville Holdings LLC(3525); 32E Productions, LLC(2381); Great Outdoors Holdco, LLC (7744); and
Outdoor Services, LLC(2405). The principal offices of Debtor Remington Outdoor Company Inc., the top-level
holding company, are located at 870 Remington Drive, Madison, NC 27025.
                   Case 18-10685          Doc 1      Filed 03/25/18     Page 19 of 21




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTKICT OF DELAWARE

---------------------------------------------------------- X

In re:                                                         Chapter 11

FGI HOLDING COMPANY,LLC,                                       Case No. 18-

                                  Debtor.

---------------------------------------------------------- X


                            CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of any corporation, other than a governmental unit, that directly or

indirectly owns 10% or more of any class of equity interests in the above-captioned debtor.




FGI Holding                Remington Outdoor Company,Inc.              R2 Holdings, LLC
Company,LLC                870 Remington Drive                         875 Third Avenue, 14th Floor
                           P.O. Box 700                                New York, NY 10022
                           Madison, NC 27025
                   Case 18-10685          Doc 1      Filed 03/25/18          Page 20 of 21




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- X

In re:                                                              Chapter 11

FGI HOLDING COMPANY,LLC,                                            Case No. 18-         (^~

                                  Debtor.

                         -------------------------------- X


                             LIST OF EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of entities holding an interest in the above-captioned debtor.

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                   ~u~ine~s cry ~~oic~e~~

  Remington Outdoor Company,Inc.                                       Membership    I
  870 Remington Drive, P.O. Box 700                                                               100%
                                                                         Interest    C
  Madison, NC 27025
                               Case 18-10685                   Doc 1           Filed 03/25/18                 Page 21 of 21




                ~Gf Holding Company PLC                                                    _~
 Debtor Name
                                                                      District of    [3elaware
 United States Bankruptcy Court fvr the:                                            (Slate)
 Gase number S~fRnow~~:      _____         __      ___




official Form 202
                                                                                                    •                                 `:       .:
 ~                       r
                                                                                                                         must sign and submit
                                                            -individual debtor, such as a corporation or partnership,
~n individual who is authorized to act on behai# of anon                                   a declarat ion that is not included in the documenf,
                                                     s, any other docume  nt that requires
this form for the schedules of assets and liabilitie                                                                   debtor,the identify of the
                                                               state the individuaPs position or reEationship to the
and any amendments of those documents. This farm must
                                                   and   9Q11.
document, and the date. Bankruptcy Rules 1008
                                                                                                                              or property by fraud in
                                                              a false statement,concealing proi~erty, or obtaining money
WARNING -- Bankruptcy ftaud is a serious crime. Making                                    tfor up to ZO  years, or both. 18 U,S.C. §§ 152, 134A,
                                                             Eo 5500,00 6 ar'rmpr isonmen
Connection with a bankeuptcy case can result to fines up
9519, and 3571.



              Declaration and sigma#ure


                                                                                                                                of the partnership; or
                                                                        of the corporation; a member or an authorized age~lt
             am the president, another nffleer, or an awthorized agent
                                                                          in this case.
            another irxiividual serving as a representative of the debtor
                                                                                                                                      is true and correct:
                                                                          belaov and I have a reasonable belief that ttta information
             have examined tfte informaUan in the documents checked

                                                                       (Official Form 2Q6tVB)
            ❑ Schedule A/8: Assets-Real and Personal Proporly
                                                              Property (official Form 2Q6D)
           ❑ Schedule D: Creditors Who Have Claims Secured by
                                                                (Official Form 2~6EIF}
           0 Schedule E/F: Greditors Wlio Have Unsecured Claims
                                                                              (O(ficial Form 206G)
            ❑ Schedule G: Executcv} Contracts and Unexpired leases

                 SchedulQ N.' Codebtors.(Official Form 20&H)
                                                                            (Official Form 266Sum)
                 Summary of Assets and Liabilities for Non-lndividua~s

            ❑ Amended Schedule
                                                                                                                              Are Not Insiders (Official Eorm
                                                                      Creclitars Wha Have the 30 Largest Unsecured Claims and
                 Chapter 1 i or Chapter 9 Cases: Consolidated List of
                  204)
                                                            Gist, of Equit~SecurifY Holders, Corporate Ownersh~ Statement                          ,_
             GL~ Other document that requires a declaration
                                                                Certification of Creditor Matrix


                                                                            and correct.
            I declare under penalty of perjury that the foregoing is true

                                                                               w~~~'~~~                                          ~`        _        _~..._
             Executed on ~ ~/~~                                 ~~_~
                         Mid 1 D0 / YYYY                         Sign2ture pF individual signirsg on behalf of debtor



                                                                                  --...son, Jr.
                                                                     Stephen P. Jack                              _....   .a.-             --,~..—..._
                                                                     Printed nzme

                                                                      Chief Financial Officer
                                                                     Position or relationship to deb±or


                                                                                                 ividual Debkors
     Official Form 202                          Declaration Under Penalty of Porjury for Non-Ind
